         Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 1 of 14




                                   STATEMENT OF FACTS

        1.      Your affiant, Ashley Walker, is a Special Agent with the Federal Bureau of
Investigation (“FBI”) since January 10, 2016 and am currently assigned to the Washington D.C.
Field Office. As a Special Agent I have investigated homicides, assaults, narcotics and firearm
trafficking, gang related violations, bank robberies, fugitive cases, and other crimes of violence
committed with deadly weapons. Currently, I am tasked with investigating criminal activity in
and around the Capitol grounds on January 6, 2021. As a Special Agent with the FBI, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.

                        Incursion at the U.S. Capitol on January 6, 2021

        2.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

       3.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
U.S. Capitol. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside.

        5.      On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public by a clearly marked perimeter fence line. This fence line was intended to keep the
public away from the Capitol building and the Congressional proceedings underway inside and
was manned by uniformed U.S. Capitol Police Officers and was constructed of metal bike rack
barriers, physically linked end to end, and reinforced with dark colored plastic mesh safety fencing
affixed behind the metal bike racks. The fence line was clearly marked with large white “AREA
CLOSED” signs affixed to the fencing with bold red lettering.
         Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 2 of 14




        6.     At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.

       7.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        8.      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                            Facts Specific to Sean Michael McHugh

         9.      Several videos from various sources taken on January 6, 2021 at the United States
Capitol depict an individual identified as SEAN MICHAEL MCHUGH: 1) encouraging others to
engage in disruptive and disorderly conduct, 2) assaulting U.S. Capitol Police Officers by pushing
a large sign into a line of uniformed Police Officers, and 3) spraying an unknown chemical into a
line of uniformed Police Officers. All these crimes occurred in the general area of the West Terrace
of the U.S. Capitol Building.

        10.    The FBI utilized investigative resources that developed a known photograph of the
subject, Sean Michael McHugh, that resulted in trained personnel determining a likely match with
the subject’s BOLO (all points bulletin, also known as “Be On the Look-Out”) image. The FBI
compared Sean Michael McHugh’s image to the image of the individual captured in the riot
footage, including the images displayed below. The FBI believed it was likely a positive match
and conducted additional investigative steps to corroborate McHugh’s identity and his
involvement in the Capitol Riots.
         Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 3 of 14




        11.    Your affiant reviewed a California driver’s license photo issued to McHugh and
compared it to the images and video of the individual rioting at the U.S. Capitol. By comparing
this photograph to the video and images from the U.S. Capitol, your affiant believes that the image
is consistent with Sean Michael McHugh.

        12.    Body worn camera obtained from the Metropolitan Police Department shows
McHugh interacting near a police barricade at approximately 1:30 pm with a megaphone. The
audio captures McHugh yelling at Officers, among other things, the following [non-verbatim
transcript]: “You guys like protecting pedophiles?”; “You’re protecting communists!”; “I’d be
shaking in your little shit boots too”; “There is a second amendment behind us, what are you going
to do then?”; “You ain’t holding the line!”
        Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 4 of 14




        13.     At approximately 1:40pm, as officers continue to fend off repeated attempts by
rioters to breach the police line and assault the officers, the rioters moved a large metal sign.
McHugh is seen pushing the sign into the officers and yelling into his megaphone [non-verbatim
transcript]: “Put it up there! Put it up there!




       14.     Several videos feature McHugh encouraging the crowd with his megaphone to
intimidate officers and approach the police line. For example, in the photo immediately below,
McHugh gestured to the crowd to advance on the police and yelled [non-verbatim transcript],
“Come on! Let’s go!”
        Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 5 of 14




       15.     Another publicly available video shows McHugh scuffling with an officer in an
attempt to defeat a barricade.




       16.   Still in the general area of the West Terrace of the U.S. Capitol Building, video
captures McHugh shooting officers with a yellow spray. Other footage captures the spray bottle,
which McHugh holstered at his right hip.
Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 6 of 14
Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 7 of 14
         Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 8 of 14




        17.    Your affiant received records from Expedia that revealed McHugh purchased travel
on Delta Airlines from Sacramento International Airport (SMF) to Ronald Reagan Washington
National Airport (DCA), with a layover in Los Angeles (LAX) on January 5, 2021. McHugh made
travel arrangements through Expedia on United Airlines to return to SMF from DCA, with a
layover in Denver, on January 7, 2021. The address in Auburn, CA 95603 and phone number
ending with 6795 were listed on McHugh’s Expedia reservation. Two other individuals were
included on McHugh’s Expedia travel reservation—another male, and one female. By reviewing
her driver’s license, the female traveler’s identity appears to be consistent with Female 1 as
outlined below.

      18.     Financial records from Bank of America corroborate that McHugh used his Bank
of America account to complete financial transactions with Delta and United airlines, with a
baggage fee charged by Delta Airlines on January 5, 2021 in Sacramento. The address in Auburn,
CA 95603 and phone number ending in 6795 were identified on Sean McHugh’s Bank of America
customer account, as well as his date of birth of xx/xx/1986.

       19.     Your affiant has reviewed the open source video "JUST ANOTHER CHANNEL”
(found at https://www.youtube.com/watch?v=0zyjCvDN4Ig) where at approximately 0:07:30, a
female voice is audible from off-camera and heard saying [non-verbatim transcript] "Sean, tell
them to get over here." An individual, who I recognize as Sean McHugh, appears to react to the
name Sean and responds by using a bullhorn to announce [non-verbatim transcript] "Come on you
guys, come on you guys. Bring it in..." while using his hand to gesture to the crowd.

        20.      About a minute prior to this interaction, the camera pans in a circle and a female,
hereafter referred to as Female 1, with a distinctive "USA" ball cap, red face mask, sunglasses and
a red jacket, is observed in close proximity to McHugh. A still frame of Female 1 is below.

       21.      At various points in video captured on January 6, 2021, McHugh and Female 1
appear to interact with each other, such as the still frame below where Female 1 pulls McHugh by
his backpack to engage in a conversation.
         Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 9 of 14




        22.    Hotel invoice records from Yotel Washington DC show that Sean McHugh lodged
at Yotel with a check in date of January 5, 2021 and a check out date of January 7, 2021. Yotel is
located at 415 New Jersey Ave NW, Washington, DC, approximately three blocks from the United
States Capitol building. Records from Yotel indicate that three adults occupied the room reserved
by Sean McHugh.

        23.     Your affiant obtained surveillance video footage from Yotel which revealed that
between approximately 12:30pm and 12:50pm on January 6, 2021, Female 1, wearing the same
distinctive clothing, was observed walking in and out of the elevators inside Yotel.




        24.     As indicated above, your affiant compared these images of Female 1 with the
driver’s license of the female who traveled under McHugh’s Expedia reservation. The female
traveler’s identity appears to be consistent with Female 1; however, she is wearing a hat and face
mask in all the known photographs and video captured on January 6th. Thus, definitively
establishing identity for Female 1 is an ongoing effort, but the gender, hair color, skin color,
approximate age and approximate weight are all consistent.

       25.    An NCIC records check reveals that McHugh is currently on probation and was on
probation on January 6, 2021. McHugh was arrested on July 20, 2018 for Driving Under the
Influence and Driving with a Suspended License in Placer County, California. McHugh was
subsequently convicted and sentenced to five years probation and 180 days in jail.

       26.      Placer County Probation Deputy Virginia Daniel, who supervised McHugh’s
probation was interviewed in person by the FBI on April 6, 2021. McHugh has been on Deputy
Daniel’s case load since September 2020. She has spoken with him on the phone but had yet to
meet him in person. Deputy Daniel was shown the three pictures below and asked whether she
could identify this individual.
        Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 10 of 14




         27.     Deputy Daniel could not positively identify the individual in the photos. She stated
the photographed individual looked familiar but was not sure from where. Deputy Daniel later
communicated with the FBI via email stating that after reviewing parolees' monthly check-in
reports an individual on her case load may resemble the individual in the photographs she was
previously shown. Deputy Daniel provided photographs of the individual she referenced, and it
was not McHugh. The FBI emailed Deputy Daniel the photographs of McHugh that she was shown
earlier, for reference, as she was going from memory. With the photographs at her disposal, she
believed the two individuals were not the same person.

        28.     On April 7, 2021, Deputy Daniel contacted the FBI by phone and stated that after
further review of the photographs shown to her the day prior, and after receiving the photographs
via email, the individual resembled Sean Michael McHugh. She has spoken with him on the phone
but had yet to meet him in person.
        Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 11 of 14




       29.    McHugh checked in with Deputy Daniel in October 2020 using a smartphone, and
sent Deputy Daniel the following photograph:




       30.      Your affiant compared this photograph of McHugh to photographs captured on
January 6th and noted unique characteristics including a distinctive nose and lips. Your affiant
believes these images are both consistent with Sean Michael McHugh.




        31.    FBI Special Agents have conducted surveillance on the address 211 Racetrack
Street, Auburn, CA, the address McHugh reported to the Department of Motor Vehicles as his
address on record. McHugh consistently reports 211 Racetrack Street, Auburn, CA as his address
of record and is associated with his Bank of America account and recent Expedia transactions.
        Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 12 of 14




According to California Secretary of State records, McHugh owns McHugh Construction and
Electrical, which reported a business address of 211 Racetrack Street, Apt B, Auburn, CA. It
should be noted that McHugh has used Unit A and Unit B interchangeably for 211 Racetrack
Street, Auburn, CA.

       32.    On April 5, 2021, FBI Agents have observed Sean McHugh exit and enter the
residence at 211 Racetrack Street. FBI agents who conducted the surveillance of McHugh
compared the individual they observed with images of the individual rioting at the U.S. Capitol.
These agents have confirmed that they believe that it is the same person—Sean Michael McHugh.

        33.    On April 15, 2021, the FBI showed the same images of Sean McHugh, from
paragraph 16, to five Auburn Police Department employees and one former employee who now
works with Placer County Sheriff’s Office, none of whom could positively identify Sean McHugh.
Later, the images were shown to two other retired Auburn Police Department employees, neither
of which could positively identify Sean McHugh.

        34.    Some of these officers had never interacted with McHugh, while others had
multiple contacts with McHugh—as many as 20 interactions, the most recent recorded interaction
being from a 2017 DUI arrest. Their law enforcement experience was likewise varied, with some
on the job a few years, others with over two decades of experience. These officers reported that
they have hundreds of yearly contacts with various citizens, sometimes thousands

        35.    As of April 29, 2021, the FBI has received approximately ten tips regarding the
identity of an image the FBI labeled as BOLO AFO-59 (later determined to be Sean Michael
McHugh) in a national press release by law enforcement on February 1, 2021.

        36.     Once law enforcement has determined the identity of the individual reported within
a publicly provided tip, analysts and law enforcement investigators query among other things, state
driver’s license information, criminal history convictions, publicly available social media profiles
and in many cases a law enforcement officer will often directly contact the tipster for further
information. A named individual is determined no longer to be the subject of a further law
enforcement assessment once their identity is compared to the known physical characteristics of
the assailant, and/or database queries do not correspond with known evidence of the BOLO
subject.

        37.     Your affiant has reviewed the known leads related to AFO-59 generated from these
tips. Nine of the ten tips suggested AFO-59 could be various individuals other than McHugh. After
reviewing the tips mentioned above, the FBI concluded nine of the ten tips reported individuals or
information that were not consistent with the actual identity of AFO-59 (McHugh) based on
additional investigative efforts outlined above.

        38.    One of these ten tips alerted the FBI to a video of the rioting on January 6, 2021 in
front of the Capitol where the aforementioned Female 1 called AFO-59 “Sean.”
        Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 13 of 14




        39.      The FBI is receiving tips from throughout the country on a daily basis about
individuals who may have participated in the events at the Capitol on January 6, 2021. Your affiant
is not aware of any other information provided to the FBI about AFO-59 at this time.

                                  Statement of Probable Cause

        40.     Based on the foregoing, your affiant submits that there is probable cause to believe
that Sean Michael McHugh violated 18 U.S.C. § 1752(a)(1), (2) and (4), and (b)(1)(A), which
makes it a crime to (1) knowingly enter or remain in any restricted building or grounds without
lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct
of Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions;
(4) knowingly engage in any act of physical violence against any person or property in any
restricted building or grounds; or attempts or conspires to do so. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance, while carrying or
using a deadly or dangerous weapon or firearm, in this case chemical spray.

        41.     Your affiant submits there is also probable cause to believe that SEAN MICHAEL
MCHUGH violated 40 U.S.C. § 5104(e)(2)(D) and (F), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (F) engage in an act of physical violence in the Grounds
or any of the Capitol Buildings.

        42.     Your affiant submits there is probable cause to believe that SEAN MICHAEL
MCHUGH violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.

        43.     Your affiant submits there is probable cause to believe that SEAN MICHAEL
MCHUGH violated 18 U.S.C. § 111(a)(1), and (b) which makes it a crime to use a deadly or
dangerous weapon, in this case chemical spray, to forcibly assault, resist, oppose, impede or
interfere with any person engaged in the performance of official duties.
        Case 1:21-cr-00453-JDB Document 1-1 Filed 05/24/21 Page 14 of 14




       44.     Finally, your affiant submits there is probable cause to believe that SEAN
MICHAEL MCHUGH violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct,
influence, or impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515,
congressional proceedings are official proceedings.



                                                    _________________________________
                                                    ASHLEY WALKER
                                                    Special Agent, FBI


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 24th day of May 2021.
                                                                       Digitally signed by G. Michael
                                                                       Harvey
                                                                       Date: 2021.05.24 11:10:42 -04'00'
                                                    ___________________________________
                                                    G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE
